                     UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                         Case No. 20-CV-954-UA-JLW



      FARHAD AZIMA,

      Plaintiff,
                                                  DEFENDANTS’ RULE 26(f)
      v.                                                REPORT

      NICHOLAS DEL ROSSO and
      VITAL MANAGEMENT
      SERVICES, INC.,

      Defendants.



      Pursuant to Federal Rule of Civil Procedure 26(f) and LR 16.1(b), a
telephone conference was held on November 1, 2022, between counsel for the
Plaintiff and counsel for the Defendants, at which the parties discussed and
continued to negotiate a proposed joint discovery plan. The Parties agreed on
certain aspects of the discovery plan; however, the Parties respectfully
disagreed as to whether discovery had commenced and the proper anticipated
scope of discovery. Defendants respectfully request that the Court enter a
scheduling order that includes the discovery deadlines listed below.
 I.        Initial Disclosures
           The parties agree to provide initial disclosures by December 11, 2022.
II.        Plaintiff’s Proposed Discovery Plan

              a. Discovery During Pending Dispositive Motion
       There are currently no pending dispositive motions. Defendants’ position
is that, pursuant to M.D.N.C. L.R. 26.1(a), discovery has not yet commenced
and that the “commencement date” of discovery shall be in accordance with the
initial pretrial order once entered by the Court.


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         b. Anticipated Scope of Discovery
      Discovery will be conducted on the operative allegations and claims
contained in Plaintiff’s Complaint and the denials and defenses raised in
Defendants’ Answer. The Parties disagree as to the proportionate scope of
discovery. Plaintiff’s position concerning the scope of discovery is detailed in
his separate 26(f) Report, and Defendants dispute the extent to which Plaintiff
seeks discovery related to claims alleged in other matters, including Azima v.
Dechert, et al. (SDNY Case No. 1:22-CV-08728) filed on October 13, 2022, (the
“New York Case”) and the English Proceeding previously disclosed in this
matter.
                i. Defendants’ Proposed Scope of Discovery
      Defendants contend that the proportionate scope of discovery should be
limited to Plaintiff’s two remaining claims in this matter: “a North Carolina
misappropriation of trade secrets claim arising from the 2018-2019 online
posting of new links to Plaintiff’s confidential business data (Count VIII) and
a North Carolina civil conspiracy claim contingent upon the viability of the
trade secrets claim (Count X)[,]” (D.E. 80 p.4), which Defendants categorically
denied, (see generally D.E. 86). The alleged conspiracy in this matter was
between Defendants and CyberRoot Risk Advisory Pte. Ltd. and alleged
related parties, and Plaintiff has elected to pursue broader and overlapping
theories through the New York Case.
      In their Affirmative Defenses, Defendants contend that they are the
target of knowingly-false and bad faith claims brought by Plaintiff for the
primary purpose of frustrating a multimillion dollar judgment in favor of the
Ras Al Khaimah Investment Authority against Plaintiff in the English
Proceeding for Plaintiff’s fraud, misappropriating funds, bribery, and other bad
faith conduct. (See generally D.E. 86). As such, Defendants disagree with
Plaintiff’s proposed scope of discovery and contend that narrower initial
discovery is proportionate to the needs of the case, especially in light of
Plaintiff’s recent pursuit of overlapping theories and claims in the New York
Case and English Proceedings.
          ii.     Defendants’ Proposed Discovery Issues
     Defendants intend to take discovery on the facts and circumstances
supporting Plaintiff’s allegation that he “discovered that Defendants
misappropriated his trade secrets earlier [that] year [(2020),]” (D.E. 1 ¶ 112).

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After filing this lawsuit, Plaintiff stated the basis for his new theory of the
hacking claims in the English Proceeding in 2021. Specifically, in February
2021, Plaintiff introduced witness statements of Messrs. Dominick Holden and
Jonas Rey in the English Proceedings, which represent that they discovered
Defendants’ alleged involvement in hacking Plaintiff from a former CyberRoot
employee, Vikash Pandey. Defendants contend that Messrs. Holden and Rey
provided a false timeline to conceal communications from Mr. Holden to Mr.
Pandey offering him a lucrative “consulting” agreement and that Mr. Rey did
not speak with or otherwise obtain a confession from Mr. Pandey. Whether
Plaintiffs have adequate and good faith grounds for pursuing discovery for
alleged violations of the North Carolina Trade Secret Protection Act is a
threshold issue for the proper scope of discovery.
      To demonstrate that the factual basis for Plaintiff’s Complaint was false
or otherwise brought in bad faith, Defendants intend to take the following
discovery:
    Defendants intend to take discovery on whether Plaintiff provided false
     evidence concerning his agents’ conversations with Vikash Pandey,
     including whether Mr. Rey provided false evidence of alleged
     conversations with Mr. Pandey and whether Mr. Rey concealed his work
     prior to October 2020 with Aditya Jain who is, upon information and
     belief, the “Source 1” referred to in Mr. Rey’s witness statement.

    Defendants intend to take discovery on whether Plaintiff and his agents,
     specifically including Dominic Holden and Jonas Rey, worked with
     Aditya Jain in May 2020 through September 2020 to pressure Vikash
     Pandey in an attempt to procure false evidence against CyberRoot and
     Defendants and offered Mr. Pandey, inter alia, a lucrative “consulting”
     agreement in August and September 2020.

    Defendants intend to take discovery on whether Plaintiff and his agents,
     specifically including Jonas Rey and Aditya Jain, conspired to and did in
     fact illegally obtain CyberRoot’s bank statements by bribery or other
     fraudulent means in June and July 2020, prior to or contemporaneously
     with the start date of Mr. Rey’s purported investigations in the English
     Proceedings.



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    Defendants intend to take discovery on whether Plaintiff and his agents
     made payments to Jonas Rey and Aditya Jain or their respective
     companies in, at least, June and July 2020 to facilitate bribery of, inter
     alios, Kotak Mahindra Bank employees to obtain confidential banking
     information of CyberRoot.

    Defendants intend to take discovery on whether Plaintiff and his agents
     conspired with third parties, including Haralambos Tsiattalou, to
     introduce bank statements stolen from CyberRoot’s bank under false
     pretenses in In re Application of Karam Salah al Din Anwi al Sadeq, et
     al., M.D.N.C. Case No. 1:21-MC-00006-UA-LPA and other unrelated
     proceedings after Plaintiff failed to obtain expedited discovery in this
     matter.

    Defendants intend to take discovery on whether Plaintiff and his agents
     conspired with reporters and media outlets to create false or misleading
     stories concerning Defendants, including delivering .zip files of false
     documents and other information allegedly concerning Defendants and
     CyberRoot to journalists, as publicly reported.

    Defendants intend to take discovery on the circumstances by which
     Plaintiff obtained and stored documents or communications alleged to
     constitute evidence supporting Plaintiff’s claims, as well as the use of
     such documents or communications in making allegations in support of
     his claims. This discovery will include documents and communications
     on any devices, drives, and servers, including any devices lost or
     destroyed. This discovery includes communications between Plaintiff
     and any of his vendors, subcontractors, or agents who obtained and
     provided evidence to Plaintiff, including those identified above.
The Court in the New York Case has noticed an initial pretrial conference for
January 12, 2023, (New York Case D.E. 37). Accordingly, Defendants reserve
the right to supplement their proposed discovery issues and seek other
appropriate modifications to the case management order.
         c. Proposed Case Management Track
      The Parties agree and seek leave of the court to take discovery pursuant
to a Complex case management track, however, Defendants respectfully seek
leave of court to take discovery pursuant to an Exceptional case management
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track if Plaintiff is permitted discovery beyond the scope proposed herein.
Pursuant to the Complex case management track, parties will serve no more
than 25 interrogatories and requests for admission per party and take no more
than 7 depositions each (including of any experts) without leave from the
Court.
           d. Date for Completion of Discovery
      The parties agree to modify the discovery track so that discovery will end
July 1, 2023, with all discovery requests to be served at least 30 days in
advance such that responses are due on or before the close of discovery.
Defendants respectfully request that discovery end on September 1, 2023, if
Plaintiff is permitted discovery beyond the scope proposed herein.
           e. Stipulated Modifications to the Discovery Track
       As noted above, the parties agree to modify the discovery track such that
discovery ends eight months after the commencement date established in the
initial pretrial order.
           f. Disclosure of Expert Reports
      The parties will designate experts by the close of fact discovery, and
expert discovery will conclude by August 1, 2023.
III.   Mediation
      The parties agree to explore mediation before the close of discovery, the
exact date to be set by the mediator in consultation with the parties. If the
parties cannot agree on a mediator, the parties agree that the mediator shall
be selected by the clerk from the Court’s panel of mediators.
IV.    Preliminary Deposition Schedule
      Depositions may begin at the commencement of discovery1 in accordance
with the initial pretrial order once entered by the Court, following notices of
depositions, and at dates and times in the notice of deposition or otherwise
agreed upon by the parties.




1 As noted above, the Parties disagree as to whether discovery has commenced. Defendants’ position
is that, pursuant to M.D.N.C. L.R. 26(a), discovery has not yet commenced.

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V.    Other Items
      The parties should be allowed until 21 days after the entry of this order
to request leave to join additional parties or amend pleadings. After these
dates, the Court will consider, inter alia, whether the granting of leave would
delay trial.
      Trial of the action is expected to take approximately 14 days. A jury trial
has been demanded.
      The parties will agree upon a protective order before any confidential
information is disclosed. The Parties will comply with Local Rules 5.4 and 5.5
protocol as set forth in a separate Report as to any documents or matters
proposed to be sealed.
      Discovery in this matter shall take the form agreed upon by the Parties
following the establishment of the proportionate scope of discovery.


      Respectfully submitted this 10th day of November, 2022.

                                         NELSON MULLINS             RILEY      &
                                         SCARBOROUGH LLP

                                   By:       /s/Brandon S. Neuman

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                       CERTIFICATE OF SERVICE

       I hereby certify that on this 10th day of November 2021, I electronically
filed the foregoing Defendants’ Rule 26(f) Report with the Clerk of the
Court using the CM/ECF system, which will send electronic notification of
filing to the following:

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